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   8                      UNITED STATES DISTRICT COURT
   9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   SARA SAFARI, on behalf of                       Case No. 8:22-cv-01562-JWH-KESx
         themselves and all others similarly
  12     situated,
       PEYMON KHAGHANI, on behalf of                   ORDER DENYING PLAINTIFFS’
  13     themselves and all others similarly           MOTION FOR LEAVE TO AMEND
         situated,                                     SECOND AMENDED CLASS
  14   JASON ROSE, on behalf of themselves             ACTION COMPLAINT [ECF
         and all others similarly situated, and        No. 163]
  15   FARM FORWARD, on behalf of the
         general public,
  16
                    Plaintiffs,
  17
             v.
  18
       WHOLE FOODS MARKET, INC.,
  19   WHOLE FOODS MARKET
         SERVICES, INC.,
  20   WHOLE FOODS MARKET
         CALIFORNIA, INC., and
  21   MRS. GOOCH’S NATURAL FOOD
         MARKETS, INC.,
  22
                    Defendants.
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   1         Before the Court is the motion of Plaintiffs Peyton Khaghani and Sara
   2   Safari for leave to amend their Second Amended Complaint. 1 The Court
   3   concludes that this matter is appropriate for resolution without a hearing. See
   4   Fed. R. Civ. P. 78; L.R. 7-15. For the reasons detailed below, the Motion is
   5   DENIED.
   6                                  I. BACKGROUND
   7         The parties are familiar with the history of this putative class action. 2 In
   8   broad strokes, Plaintiffs allege that Defendants Whole Foods Market Services,
   9   Inc.; Whole Foods Market California, Inc.; and Mrs. Gooch’s Natural Food
  10   Markets, Inc. (collectively, “Whole Foods”) falsely advertise and label their
  11   beef products, which are sold through Whole Foods stores and Amazon.com, as
  12   antibiotic-free. 3 Plaintiffs originally filed the action against Defendant Whole
  13   Foods Market, Inc. in August 2022. 4 Since then, Plaintiffs have amended their
  14   pleadings twice, including to add Defendants Whole Foods Market Services,
  15   Inc.; Whole Foods Market California, Inc.; and Mrs. Gooch’s Natural Food
  16   Markets, Inc.5
  17         After Plaintiffs filed their Second Amended Complaint, the Court set the
  18   deadline for Plaintiffs to file a motion for class certification as August 6, 2024.6
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       1
              Pl.’s Mot. for Leave to Amend (the “Motion”) [ECF No. 163]; see also
  20
       Pls.’ Second Am. Compl. against Defs. Mrs. Gooch’s Natural Food Markets,
  21   Inc.; Whole Foods Market California, Inc.; and Whole Foods Market Services,
  22   Inc. (the “Second Amended Complaint”) [ECF No. 108].
       2
  23         See Order Re. Def.’s Mot. to Dismiss [ECF No. 74].
       3
             See generally Second Amended Complaint.
  24
       4
             See Compl. [ECF No. 1].
  25
       5
             See First Amended Compl. (the “First Amended Complaint”) [ECF
  26
       No. 35]; Second Amended Complaint.
  27   6
            See Order Re. Pl.’s Ex Parte Appl. to Continue (the “Scheduling Order”)
  28   [ECF No. 157].

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   1   One week before that deadline, Plaintiffs moved to vacate the class certification
   2   hearing, in part because they desired to seek leave to amend the Second
   3   Amended Complaint to include additional defendants. 7 The Court granted that
   4   motion in part, which extended Plaintiffs’ deadline to file a motion for class
   5   certification to December 6, 2024. 8
   6          Plaintiffs filed the instant Motion in September 2024. 9 The matter is fully
   7   briefed.10
   8                              II. LEGAL STANDARD
   9   A.     Rule 15(a)—Leave to Amend
  10          Pursuant to the Federal Rules of Civil Procedure, a district court “should
  11   freely give leave” to amend a pleading “when justice so requires.”
  12   Fed. R. Civ. P. 15(a). The purpose underlying Rule 15(a) is to “facilitate
  13   decision on the merits, rather than on the pleadings or technicalities.” Lopez v.
  14   Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (citation omitted). However, leave to
  15   amend is “not automatic.” Agua Caliente Band of Cahuilla Indians v. Coachella
  16   Valley Water Dist., 2020 WL 5775174, at *1 (C.D. Cal. July 8, 2020). The Ninth
  17   Circuit instructs district courts to consider five factors when deciding a motion
  18   for leave to amend under Rule 15(a): (1) bad faith; (2) undue delay; (3) prejudice
  19   to the opposing party; (4) the futility of amendment; and (5) whether the
  20   plaintiff has previously amended his or her complaint. See Nunes v. Ashcroft, 375
  21   F.3d 805, 808 (9th Cir. 2004); see also Doe v. United States, 58 F.3d 494, 497 (9th
  22   Cir. 1995). Of those factors, prejudice to the opposing party is the consideration
  23
       7
             See Pl.’s Ex Parte Appl. to Vacate Class Certification Hearing [ECF
  24
       Nos. 153 & 179 (sealed)].
  25   8
              See Scheduling Order.
  26   9
              See Motion.
  27   10
             See Def.’s Opp’n to the Motion [ECF Nos. 176 & 182 (sealed)]; Pl.’s
  28   Reply in Support of the Motion (the “Reply”) [ECF Nos. 191 & 194 (sealed)].

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   1   “that carries the greatest weight.” Eminence Capital, L.L.C. v. Aspeon, Inc., 316
   2   F.3d 1048, 1052 (9th Cir. 2003).
   3   B.    Rule 20(a)—Permissive Joinder
   4         The Federal Rules of Civil Procedure permit the joinder of two or more
   5   defendants in one action if: (1) “any right to relief is asserted against them
   6   jointly, severally, or in the alternative with respect to or arising out of the same
   7   transaction, occurrence, or series of transactions or occurrences”; and (2) “any
   8   question of law or fact common to all defendants will arise in the action.”
   9   Fed. R. Civ. P. 20(a)(2). Before allowing the joinder of parties, the court “must
  10   also examine the other relevant factors in a case in order to determine whether
  11   the permissive joinder of a party will comport with the principles of fundamental
  12   fairness.” Desert Empire Bank v. Ins. Co. of North Am., 623 F.2d 1371, 1375 (9th
  13   Cir. 1980). A court “should consider such factors as the possible prejudice that
  14   may result to any of the parties in the litigation, the delay of the moving party in
  15   seeking amendment to his pleadings, the motive that the moving party has in
  16   seeking such amendment, the closeness of the relationship between the new and
  17   old parties, the effect of an amendment on the court’s jurisdiction, and the new
  18   party’s notice of the pending action.” Id. Because the standards are similar,
  19   courts often consider Rules 15(a) and 20(a) together. See id.
  20                                    III. ANALYSIS
  21         As an initial matter, Plaintiffs filed this motion under Rule 15(a), and
  22   Defendants responded accordingly. However, because a Scheduling Order is in
  23   place, the request for leave to amend should instead be considered under
  24   Rule 16. See Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607–08 (9th
  25   Cir. 1992) (explaining that, once a scheduling order is in place, a motion to
  26   amend is treated as a request to amend the scheduling order). Under Rule 16(b),
  27   amendment is inappropriate absent a showing of “good cause.”
  28   Fed. R. Civ. P. 16(b). The “good cause” standard “primarily considers the

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   1   diligence of the party seeking the amendment,” and “the focus of the inquiry is
   2   upon the moving party’s reasons for seeking modification.” Johnson, 875 F.2d
   3   at 609. The “good cause” standard is far less generous to a plaintiff than the
   4   “liberal” Rule 15 standard. See id. at 607.
   5              In any event, Plaintiffs are not entitled to amend their pleadings under any
   6   of Rules 15, 16, or 20. Plaintiffs seek to add Amazon.com, Inc.; Amazon.com
   7   Sales, Inc.; and Amazon.com Services LLC (collectively, “Amazon”) as
   8   defendants to this action. 11 According to Plaintiffs, they learned during
   9   discovery that (1) Amazon.com, Inc. is the parent corporation of Whole Foods;
  10   (2) Amazon controls “applicable meat marketing, sourcing and sales policies
  11   and procedures at Whole Foods”; and (3) Amazon “directly sell[s] Whole
  12   Foods 365 and private label beef with the same alleged false marketing through
  13   Whole Foods Market on Amazon, Amazon Prime, and Amazon Fresh.”12
  14   Plaintiffs contend that they could not have included allegations regarding
  15   Amazon at any previous time because Plaintiffs did not understand the “integral
  16   role” that Amazon plays in “marketing, sourcing, and [selling]” Whole Foods
  17   beef. 13
  18              The Court is unconvinced. As Plaintiffs acknowledge, Amazon acquired
  19   Whole Foods in 2017. 14 Plaintiffs therefore should have known before they filed
  20   this lawsuit that Amazon is the parent company of Whole Foods. It is also
  21   unlikely that Plaintiffs learned for the first time during discovery that Amazon
  22   sells Whole Foods products on the Amazon website—Plaintiffs included images
  23
  24
  25   11
                  Motion 2:10-3:3.
  26   12
                  Id. at 2:14-18.
       13
  27              Id. at 8:20.
       14
  28              Id. at 3:12.

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   1   of beef sold through the Amazon website in their Second Amended Complaint. 15
   2   Indeed, most of Plaintiffs’ proposed amendments relate to records that were
   3   available to Plaintiffs before they filed their Second Amended Complaint,
   4   including proxy statements and images of Amazon’s website and marketing
   5   materials. 16
   6          Furthermore, Plaintiffs contend that some recently produced documents
   7   reveal that Amazon “exerts control over Whole Foods’ meat sourcing,” but
   8   Plaintiffs overstate the content of those documents. 17 For example, Plaintiffs
   9   have submitted an email news blast that was transmitted to Whole Foods
  10   employees that contained articles from 2019 in which reporters speculated that
  11   Amazon, as the parent company of Whole Foods, would reduce Whole Foods’
  12   prices.18 Plaintiffs read this email to suggest that Amazon “exerts control over
  13   Whole Foods’ price setting.” 19 But that document suggests nothing of the
  14   sort—it is a news blast to which no Amazon or Whole Foods employee
  15   responded. 20 So too for the other documents that Plaintiffs have supplied,
  16   which indicate that Amazon is the parent company of Whole Foods and a
  17
  18   15
              See Second Amended Complaint ¶ 47.
  19   16
              See, e.g., Decl. in Support of Application to File Documents Under Seal
  20   (the “Shefler Declaration”), Ex. 1 (the “Third Amended Complaint”) [ECF
       No. 164-1] ¶ 32 (citing December 31, 2017, Form 10-K filed by Amazon.com,
  21
       Inc.), ¶ 65 (alleging that consumers could search for Whole Foods beef through
  22   the Amazon website), & ¶ 101 (citing Amazon’s May 24, 2023, Proxy
  23   Statement, which reiterated that Whole Foods required meat to contain “no
       antibiotics ever”); id., Ex. 24 (“Exhibit 24”) [ECF No. 162-11] (media articles
  24   from 2019 that claimed Amazon exerted price control over Whole Foods).
  25   17
              Motion 6:10-11.
  26   18
              See generally id.; Exhibit 24.
       19
  27          Motion 7:1-2.
       20
  28          See Exhibit 24.

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   1   retailer of Whole Foods’ products, not that Amazon controlled Whole Foods’
   2   marketing or pricing of beef. 21
   3         Additionally, permitting Plaintiffs to add defendants at this point in the
   4   litigation would cause undue prejudice. Plaintiffs filed this Motion shortly
   5   before the deadline to move for class certification, when Plaintiffs had nearly
   6   completed discovery related to their motion for class certification. 22 If granted,
   7   the instant Motion would effectively reset that progress: the Amazon
   8   defendants would be entitled to move to dismiss the allegations against them;
   9   the parties would be entitled to conduct further discovery related to class
  10   certification; and the motion for class certification would be refiled. 23 That
  11   course would result in prolonged delays and increased costs, which—although
  12   not themselves “fatal to amendment”—counsel against granting leave to
  13   amend. See Morongo Band of Mission Indians v. Rose, 893 F.3d 1074, 1079 (9th
  14   Cir. 1990); see also Lockheed Martin Corp. v. Network Solutions, Inc., 194 F.3d
  15   980, 986 (9th Cir. 1999) (“A need to reopen discovery and therefore delay the
  16   proceedings supports a district court’s finding of prejudice from a delayed
  17   motion to amend the complaint.”). Further, Plaintiffs have already amended
  18   their pleadings twice, and Plaintiffs’ instant proposed amendments are premised
  19   on information that Plaintiffs long had available to them. See Acri v. International
  20   Assn. of Machinists & Aerospace Workers, 781 F.2d 1393, 1398–99 (9th Cir. 1986)
  21
       21
  22          See, e.g., Shefler Declaration, Exs. 14 &15 (ECF Nos. 162-2 & 162-3)
       (indicating that suppliers were required to comply with Whole Foods and
  23   Amazon Food Safety standards, without stating what those standards were).
  24   22
             See Motion.
  25   23
              See id. at 16:21–24 (arguing that “[t]he most efficient way to proceed is
  26   with one complaint against all relevant defendants, moving forward with a single
       class certification motion against both sets of defendants”); Reply 8:7–9
  27   (requesting that the Court “further extend the class certification deadline so
  28   class certification may move forward against all defendants at once”).

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